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 6                               UNITED STATES DISTRICT COURT
 7
                               CENTRAL DISTRICT OF CALIFORNIA
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 9    ANTHONY BOUYER, an individual,                 CASE NO.: 2:21-cv-00830-PA-RAO
 10                     Plaintiff,
 11
                -vs.                                 ORDER FOR DISMISSAL WITH
 12                                                  PREJUDICE
      IRMAS PAXTON LLC, a California limited
 13   liability company; GOLD PAXTON LLC, a
      California limited liability company; ROUSSO
 14
      PAXTON LLC, a California limited liability
 15   company; and DOES 1-10, inclusive,

 16                     Defendants.

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      _____________________________________________1________________________________________________
                                                                                         ORDER FOR
                                                                         DISMISSAL WITH PREJUDICE
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 1          WHEREAS, pursuant to the Stipulation For Dismissal With Prejudice filed
 2
      by Plaintiff ANTHONY BOUYER (“Plaintiff”) and Defendants IRMAS PAXTON
 3
      LLC, GOLD PAXTON LLC, and ROUSSO PAXTON LLC (collectively
 4
      “Defendants”), and for GOOD CAUSE appearing, IT IS HEREBY ORDERED
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 6    THAT:

 7          1. Plaintiff shall not take any action against Defendants or their tenant,
 8              Lumber City Corp., concerning the Property based on any alleged
 9
                violations of the Americans with Disabilities Act and/or Unruh Act
 10
                during the period of performance of the certain renovations required by
 11
                the settlement; and
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 13         2. The complaint and all causes of action contained therein is hereby

 14             dismissed WITH PREJUDICE.
 15
      IT IS SO ORDERED.
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      DATED: March 20, 2021
 18                                      By:______________________________________
 19                                                    Percy Anderson
                                                    UNITED STATES DISTRICT JUDGE
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                                                                                         ORDER FOR
                                                                         DISMISSAL WITH PREJUDICE
